            IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF MISSOURI
                 SOUTHERN/SOUTHWESTERN DIVISION

In Re: Criminal Trial Docket
       May 3, 2021

                                              ORDER

       Pursuant to the directions of the Honorable Douglas Harpool, United States District Judge,

the following criminal actions are set for pretrial conferences before United States Magistrate

David P. Rush, April 6, 2021, at the times shown below. The attorneys, including defense and

government counsel who will try the case, shall attend the pretrial conference. Prior to the

conference, trial counsel for the United States and trial counsel for the defendant are to meet

personally and discuss potential plea agreements. Final plea agreements are to be signed

prior to the conference or be ready for signature at the conference. Each defendant is to be

present unless, in advance of the conference, counsel advises the Court that a plea bargain has been

signed or the case simply needs to be set for trial. Attorneys are instructed to be prepared to make

such announcements as may be necessary in order that these cases may be tried or other disposition

made. Each of these cases, unless given a special setting, is set for trial on the joint criminal jury

trial docket, with all the available Judges of the Court sitting, commencing May 3, 2021.

       All pretrial conferences will be held in the U. S. Magistrate=s Courtroom, United States

Courthouse, 222 N. John Q. Hammons Parkway, Springfield, Missouri.

       Regarding motions for continuance and possible changes of plea, it is

       ORDERED that any defendant who intends to file a motion to continue the trial of his or

her case until the next joint docket, which is June 7, 2021, shall file such motion in a timely

fashion. A motion for continuance which is filed after the Friday prior to the scheduled

pretrial conference shall be considered untimely. A motion not timely filed will be summarily



          Case 3:21-cr-05003-MDH Document 28 Filed 02/22/21 Page 1 of 9
denied.

          Likewise, absent a showing of very exceptional circumstances, a timely filed motion

seeking a continuance of a criminal action will be summarily denied. Counsel for the moving

defendant or plaintiff shall state in the motion whether or not the plaintiff and co-defendants have

any objection to the continuance of the action. It is further

          ORDERED that counsel for a defendant whose case who wishes to plead guilty, shall

immediately call the chambers of the Honorable David P. Rush to schedule the change of plea.

If the parties consent, the plea will be scheduled before the United States Magistrate Judge;

otherwise, before the United States District Judge to which it is assigned.

                              Before Magistrate Judge David P. Rush

                                          April 6, 2021



20-05032-CR-SW-RK                     United States                  Jody Stockard

                                              v.

                       -01            Timothy A. Avey                Michelle Law



20-05030-CR-SW-RK                     United States                  Jessica Sarff

                                              v.

                       -02            James L. Mangold               Russ Dempsey

                       -03            Michael D. Ash                 Brian Risley

                       -05            Dustin Brenneman               Gary Wilson

                       -06            Misty M. Forester              Ben McBride

                       -07            Breanna Maggard                Alison Hershewe




           Case 3:21-cr-05003-MDH Document 28 Filed 02/22/21 Page 2 of 9
                                       2
20-03116-CR-S-SRB           United States           Jessica Sarff

                                   v.

                    -01     Aaron J. Martin         Ann Koszuth

                    -02     Clayton P. Albrecht     Russ Dempsey

                    -03     Jade R. Kentner         James Hayes

                    -04     Megan R. Daniels        Megan McCullough

                    -05     Samantha Stanton        Agi Prevendarcsik



20-03122-CR-S-BP            United States           Casey Clark

                                   v.

                    -01     Deandre Walls           Scott Pierson



20-03098-CR-S-BP            United States           Tony Brown

                                   v.

                    -01     D’Andre M. Davis        Russ Dempsey



20-03120-CR-S-RK            United States           Jim Kelleher

                                   v.

                    -01     David Tatro             Adam Woody



20-03124-CR-S-MDH           United States           Patrick Carney

                                   v.

                    -01     James Larry Dunn        Ann Koszuth




       Case 3:21-cr-05003-MDH Document 28 Filed 02/22/21 Page 3 of 9
                                   3
20-03126-CR-S-MDH           United States           Patrick Carney

                                   v.

                    -01     Donald Scroggins        Ann Koszuth



20-03131-CR-S-MDH           United States           Cameron Beaver

                                   v.

                    -01     David Scott Chambers    Michelle Law



20-03133-CR-S-BCW           United States           Jim Kelleher

                                   v.

                    -01     Jared Turner            Michelle Law



20-03121-CR-S-MDH           United States           Jim Kelleher

                                   v.

                    -01     Timothy Barnett         Michelle Moulder

                    -02     Tyler Martin            Kristin Jones



20-03106-CR-S-BCW           United States           Jim Kelleher

                                   v.

                    -01     Brandon Lafferty        Michelle Law



20-03112-CR-S-BCW           United States           Jessica Sarff

                                   v.

                    -01     Devin J.H. Wrinkle      Brian Risley

       Case 3:21-cr-05003-MDH Document 28 Filed 02/22/21 Page 4 of 9
                                   4
                    -02     Ashley N. Cooney        Amanda Burdick-Brown



20-05031-CR-SW-BP           United States           Jody Stockard

                                   v.

                    -01     Justin Farley           Ann Koszuth

                    -02     Mallori L. Phillips     Scott Pierson



20-03127-CR-S-BCW           United States           Patrick Carney

                                   v.

                    -01     David Arnold            Michelle Law



21-03002-CR-S-MDH           United States           Cameron Beaver

                                   v.

                    -01     Heath Yarger            Ann Koszuth



20-03100-CR-S-MDH           United States           Tony Brown

                                   v.

                    -01     Mace Hutchinson         Ian Lewis



21-03003-CR-S-MDH           United States           Stephanie Wan

                                   v.

                    -01     James Hudgins           Ann Koszuth




       Case 3:21-cr-05003-MDH Document 28 Filed 02/22/21 Page 5 of 9
                                   5
21-03007-CR-S-SRB           United States            Jody Stockard

                                   v.

                    -01     Marcelino Sauseda, Jr.   Ann Koszuth



21-03005-CR-S-MDH           United States            Jody Stockard

                                   v.

                    -01     Thorn M. Thomas          Ian Lewis



21-03016-CR-S-BCW           United States            Shannon Kempf

                                   v.

                    -01     Patricia Ashton Derges   Stacie Bilyeu



21-03006-CR-S-MDH           United States            Jody Stockard

                                   v.

                    -01     Larry D. Wright          Michelle Law

                    -04     Theresa L. Villareal     Agi Prevendarcsik



21-05003-CR-S-MDH           United States            Jessica Sarff

                                   v.

                    -01     William D. Johnson       Don Cooley

                    -02     Douglas S. Ward          Stuart Huffman



20-03099-CR-S-MDH           United States            Tony Brown

                                   v.

                    -01     Damien B. Shaw           David Mercer
       Case 3:21-cr-05003-MDH Document 28 Filed 02/22/21 Page 6 of 9
                                   6
20-05026-CR-SW-MDH          United States           Ami Miller

                                   v.

                    -01     Freddie Lewis Tilton    Shane Cantin

                    -02     Alvin Dale Boyer        David Back



20-05028-CR-SW-MDH          United States           Jessica Sarff

                                   v.

                    -01     Symantha Jean Grace     Megan McCullough



20-03107-CR-S-MDH           United States           Ami Miller

                                   v.

                    -01     Ray Jackson             Jason Coatney



20-03128-CR-S-SRB           United States           Ami Miller

                                   v.

                    -01     John Heber Redd         Michelle Law



21-03012-CR-S-BCW           United States           Jim Kelleher

                                   v.

                    -01     Pearl Godsey            Ian Lewis



21-03004-CR-S-SRB           United States           Patrick Carney

                                   v.

                    -01     Elizabeth D. Hessing    Marshall Miller


       Case 3:21-cr-05003-MDH Document 28 Filed 02/22/21 Page 7 of 9
                                   7
21-03009-CR-S-SRB           United States           Megan Chalifoux

                                   v.

                    -01     Xiaozheng Liu           Tad Morlan

                    -02     Huanzhi Ye              Jason Coatney



21-05006-CR-SW-BP           United States           Stephanie Wan

                                   v.

                    -01     Damion Spillman         Michelle Moulder



21-03008-CR-S-BP            United States           Jody Stockard

                                   v.

                    -02     Gino C. Locklear        Gary Wilson



21-03020-CR-S-BP            United States           Stephanie Wan

                                   v.

                    -01     Garrett Parlette        Michelle Law



21-03014-CR-S-RK            United States           Ami Miller

                                   v.

                    -01     Corey Levi Porter       Teresa Fiester



20-05023-CR-SW-MDH          United States           Megan Chalifoux

                                   v.

                    -01     Freddie McAnally, II    Michelle Law


       Case 3:21-cr-05003-MDH Document 28 Filed 02/22/21 Page 8 of 9
                                   8
21-03011-CR-S-BP             United States             Jim Kelleher

                                    v.

                    -01      Michael Ray Jones         Ann Koszuth



21-03017-CR-S-BCW            United States             Casey Clarkd

                                    v.

                    -01      Joseph A. Keplan          David Mercer




                                             /s/ David P. Rush
                                             DAVID P. RUSH
                                             UNITED STATES MAGISTRATE JUDGE


Date: February 22, 2021




        Case 3:21-cr-05003-MDH Document 28 Filed 02/22/21 Page 9 of 9
                                    9
